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Message

 

From: Patrick Griffin BB ippte.com|

    
 
   

Sent: 6/1/2013 12:37:31 PM
To:
Subject: Fwd: Met at bitcoin conference

 

Begin forwarded message:

ro:

Subject: Re: Met at bitcoin conference

Date: _ 21 , 2013 11:42:31 PM PDT

ripple.com>, Patrick Griffin Jripple.com>

 

  
  

(CC'ing some colleagues who might find our discussion about Ripple forks interesting.)

IMO, the only way to possibly counter this kind of fork is to hide the XRP owned
by OpenCoin and masquerade ownership to look like recipients of XRP
giveaway/sales.

I don't think it's feasible to convincingly fake giveaways and subsequent transaction activity on a
public ledger. Consider that market activity is sentient, chaotic and highly interconnected. The
ledger is public and can be scrutinized at any time. Any sneakiness on our part would be far
more likely to destroy trust in the network than to help it in any way.

There is an explicit market incentive in Ripple for activists to invalidate the XRP
that is owned by OpenCoin.

True, however there is no market incentive for end users to use the forked network. To the same
extent that the activists will be giving away XRP more freely, they will be worth less. OpenCoin
on the other hand will be in a position to maximize XRP's value not only via giveaways to

miners, but developers, end users and strategic partners as well. In addition, it will be able to sell
some XRP and spend the proceeds on everything from QA and design to business development.

A properly incentivized, moderately intelligent group of people freely deciding how and when to

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give away XRP provides a much greater value to the network per XRP created than a
homogenous giveaway like mining. There are diminishing returns for each distinct use of the
initial XRP, so just being able to have a lot of different ones matters a great deal. The benefits far
outweigh the downside of it being perceived as unfair.

The Bitcoin Foundation and Bitcoin Grant are attempts at solving this problem for Bitcoin, but
it's a) too little too late and b) there is no profit motive. This is fine if you just want to pay some
developers to keep tinkering, but it's not the kind of war chest you need to actually take over
world finance. OpenCoin will need to spend billions of dollars if it is to succeed. And if it does
succeed it'll succeed not only for its own sake, but it'll wedge the door open for Bitcoin and any
other crypto-currency.

 

When the ripple webclient becomes more stable, you should consider turning it
into a bookmarklet

On it, see here: https://ripple.com/wiki/ User TTT Sccure Bookmarklet

 

It was great talking to you, and hopefully see you around at other
bitcoin/cryptocurrency conferences.

Great talking to you too!

Cheers,

On 5/22/2013 2:15 AM, rote:
Hi

We met on Friday talking about Ripple (I'm the tall lanky asian guy that was
concerned with counterparty risk during trades because I didn't realize XRP was
used as an intermediary). I found your explanation and answers regarding Ripple
insightful and interesting.

I'm certainly interested in learning more about ripple and its implications for the
financial markets.

One concern that I still have is that all transactions are based on consensus on a
current hash tree. I had said that a fork on an accepted consensus hash seemed
possible and it was said that a fork on bitcoin would be similarly easy. My
concern is that bitcoin does not have a market incentive to fork the blockchain and
blacklist transactions (not to mention any fork risks a substantially lower hashing
power and exposure to 51% attacks). There is an explicit market incentive in
Ripple for activists to invalidate the XRP that is owned by OpenCoin. IMO, the
only way to possibly counter this kind of fork is to hide the XRP owned by

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OpenCoin and masquerade ownership to look like recipients of XRP
giveaway/sales. I haven't explored your transactions/ownerships, so I don't know
if OpenCoin is doing that, but it seems like the prudent thing to do from a self-
preservation standpoint.

When the ripple webclicnt becomes more stable, you should consider turning it
into a bookmarklet using the "Data URI Scheme". I mentioned to you doing
something similar on IRC (or was it a bitcointalk message?) for bitcoinjs. As long
as it was password protected and alerted the users to update with new versions, it
seems like it would allay concerns with MITM attacks at hotspots. I assume
nearly everyone currently just uses the ripple.com wallet.

I'll be sure to look into ripple some more and at the minimum build a trading
engine to do some liquidity providing trades at XRP/USD bitstamp pair. I don't
think I need a copy of the ripple daemon, as | don't want the responsibility and
still am spending more time on the market mechanics and protocol of bitcoin at
the moment (however I may be using parts of bitcoinjs in a future project). Either
way, the growth in ripple as of late is certainly interesting and looks well-
managed.

It was great talking to you, and hopefully see you around at other

_. conferences. Best regards,

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